               Case 2:21-mj-00148-AC Document 6 Filed 09/23/21 Page 1 of 2

 1

 2

 3

 4

 5

 6

 7

 8                                  IN THE UNITED STATES DISTRICT COURT

 9                                FOR THE EASTERN DISTRICT OF CALIFORNIA

10

11 USA ,
                                                             NO. 2:21−MJ−00148−AC
12                              Plaintiff,

13                         v.
                                                             DUE PROCESS PROTECTIONS
                                                             ACT ORDER
14 JONATHAN PATRICK TURRENTINE ,

15                              Defendant.
                                                     /
16

17         Under federal law, including Rule 5(f) of the Federal Rules of Criminal Procedure, Brady

18 v. Maryland, 373 U.S. 83 (1963), and all applicable decisions from the Supreme Court and the Ninth

19 Circuit interpreting Brady, the government has a continuing obligation to produce all information or

20 evidence known to the government relating to guilt or punishment that might reasonably be considered

21 favorable to the defendant's case, even if the evidence is not admissible so long as it is reasonably

22 likely to lead to admissible evidence. See United States v. Price, 566 F.3d 900,913 n.14

23 (9th Cir. 2009). Accordingly, the court orders the government to produce to the defendant in a

24 timely manner all such information or evidence.

25 /////

26 /////




                                                         1
               Case 2:21-mj-00148-AC Document 6 Filed 09/23/21 Page 2 of 2


 1         Information or evidence may be favorable to a defendant's case if it either may help bolster

 2 the defendant's case or impeach a prosecutor's witness or other government evidence. If doubt

 3 exists, it should be resolved in favor of the defendant with full disclosure being made.

 4         If the government believes that a required disclosure would compromise witness safety,

 5 victim rights, national security, a sensitive law-enforcement technique, or any other substantial

 6 government interest, the government may apply to the Court for a modification of the requirements

 7 of this Disclosure Order, which may include in camera review and/or withholding or subjecting to

 8 a protective order all or part of the information.

 9         This Disclosure Order is entered under Rule 5(f) and does not relieve any party in this matter

10 of any other discovery obligation. The consequences for violating either this Disclosure Order or

11 the government's obligations under Brady include, but are not limited to, the following: contempt,

12 sanction, referral to a disciplinary authority, adverse jury instruction, exclusion of evidence, and

13 dismissal of charges. Nothing in this Disclosure Order enlarges or diminishes the government's

14 obligation to disclose information and evidence to a defendant under Brady, as interpreted and

15 applied under Supreme Court and Ninth Circuit precedent. As the Supreme Court noted,

16 "the government violates the Constitution's Due Process Clause 'if it withholds evidence that is

17 favorable to the defense and material to the defendant's guilt or punishment.'" Turner v. United

18 States, 137 S. Ct. 1885, 1888 (2017), quoting Smith v. Cain, 565 U.S. 73, 75 (2012).

19 DATE:         September 23, 2021

20                                                        /s/ Deborah Barnes
                                                          U.S. MAGISTRATE JUDGE
21

22

23

24

25

26




                                                         2
